             Case 24-30760           Doc 17-2         Filed 04/18/24 Entered 04/18/24 14:10:29                       Desc Exhibit
                                                             A Page 1 of 2



                                                                                                             Filing Number: 1454820600248
                                                                                                             Date: 02/12/2024
                                                                                                             Time: 10:09 AM
                                                                                                             STATE OF MINNESOTA
                                                                                                             Office: Office of the Minnesota
                                                                                                             Secretary of State




            UCC1 - Original Filing - UCC Financing Statement
RETURN ACKNOWLEDGEMENT TO:                                              FILER CONTACT INFORMATION:
Lien Solutions                                                          Wolters Kluwer Lien Solutions
P.O. Box 29071                                                          800-331-3282
Glendale, CA 912099071                                                  uccfilingreturn@wolterskluwer.com
USA

DEBTOR INFORMATION
ORGANIZATION'S NAME
Minnesota Implant Center PLLC
MAILING ADDRESS                               CITY                                STATE             POSTAL CODE COUNTRY
237 Radio Dr Ste 110                          Woodbury                            MN                55125       USA

ORGANIZATION'S NAME
Woodbury Dental Arts / Smile Rescue Woodbury
MAILING ADDRESS                        CITY                                       STATE             POSTAL CODE COUNTRY
237 Radio Dr Ste 110                   Woodbury                                   MN                55125       USA

ORGANIZATION'S NAME
MARKO KAMEL DDS PA
MAILING ADDRESS                               CITY                                STATE             POSTAL CODE COUNTRY
237 Radio Dr Ste 110                          Woodbury                            MN                55125       USA

ORGANIZATION'S NAME
WOODBURY DENTAL ARTS P.A.
MAILING ADDRESS                               CITY                                STATE             POSTAL CODE COUNTRY
237 Radio Dr Ste 110                          Woodbury                            MN                55125       USA

SECURED PARTY INFORMATION

ORGANIZATION'S NAME
C T CORPORATION SYSTEM, AS REPRESENTATIVE
MAILING ADDRESS                         CITY                                      STATE             POSTAL CODE COUNTRY
330 N Brand Blvd, Suite 700; Attn: SPRS Glendale                                  CA                91203       USA

COLLATERAL
To secure payment for all purchases from Secured Party, now and in the future, Seller hereby grants Secured Party a continuing
security interest in all of Seller's presently owned or hereafter acquired (a) goods, (b) instruments, (c) promissory notes, (d) chattel
paper including electronic chattel paper and tangible chattel paper, (e) documents, (f) books and records, (g) accounts), (h)
accounts receivable, (i) equipment, (j) inventory, (k) commercial tort claims, (l) general intangibles, (m) payment intangibles, and
(n) software, together with all proceeds and all support obligations thereof. Secured Party's security interest is explicitly limited to
outstanding obligations between Secured Party and Seller. The term "obligations" shall mean and include all indebtedness,
liabilities, and obligations of any nature, however arising whether
                                                                      Exhibit A
            Case 24-30760           Doc 17-2        Filed 04/18/24 Entered 04/18/24 14:10:29 Desc Exhibit
                                                           A Page 2 of 2        Filing Number: 1454820600248




monetary or otherwise, now existing or hereafter arising in favor of Secured Party, including any attorney's fees and
expenses to which Secured Party may be entitled.
ADDITIONAL INFORMATION(IF ANY)
TRUST DESIGNATION: No Alternative
ALTERNATE DESIGNATION: Seller/Buyer
ADDITIONAL FILER REFERENCE DATA:
97308431




                                                                    Exhibit A
